          Case 1:22-cv-03419-JPB     Document 115-2           Filed 12/08/23    Page 1 of 11
Eric Felder vs.                                                                                UMESH PATEL
Tucker Inn Incorporated, et al.                                                                October 25, 2018
                                                Page 57                                                 Page 59

      system.                                             1
                                                        A Yes.
  2 BY MR. RICE:                                        Q Is the camera that recorded this shooting
                                                          2
  3  Q Okay. Who did you purchase it from?        3 in the same location now as it was at the time of the
  4  A (The Witness) We buy it at Costco.         4 shooting?
  5       THE INTERPRETER: We bought it from      5     A Yes.
 6    Costco.                                     6     Q Okay. Is the desk clerk's job to monitor
 7 BY MR. RICE:                                   7 those cameras?
 8   Q Who installed it?                          8     A (The Witness) No.
 9   A (The Witness) I install that.              9          THE INTERPRETER: No.
10        THE INTERPRETER: I installed it.       10 BY MR. RICE:
11 BY MR. RICE:                                  11.    Q Okay. Does anyone monitor -- so let me
12   Q And you also mentioned lighting. When did 12 back up. I apologize, Umesh.
13 you call Georgia Power for improved lighting? 13         No one monitors the cameras; is that fair?
14   A (The Witness) 2014.                       14          MR. LUDWIG: Object to form.
15        THE INTERPRETER: 2014.                 15 BY THE WITNESS: (Through the Interpreter)
16 BY MR. RICE:                                  16     A No.
17   Q And when was it -- was it also done in 17        Q That's true?
18 2014?                                         18     A (The Witness) Yeah.
19   A (The Witness) Yeah, 2014.                 19     Q Okay. The cameras as they existed at the
20        THE INTERPRETER: Yes, it was done in 20 time of the shooting, the four cameras, what do they
21    2014.                                      21 show?
22 BY MR. RICE:                                  22     A Any incident that used to happen used --
23   Q Did that include the area where the       23 will used to get recorded.
24 shooting occurred?                            24     Q Okay. I'm trying to find out, Umesh, the
25   A (The Witness) Yeah.                       25 physical locations. I know the one where the


                                                Page 58                                                 Page 60

  1        THE INTERPRETER: Yes. In the same area 1 shooting happened covered the parking lot. Where did
 2     we installed a new pole.                          2 the other three cover?
 3 BY MR. RICE:                                          3    A One was in the office and -- and the three
 4    Q Okay. Are the cameras hidden cameras? 4 corners.
 5    A (The Witness) No.                                5         THE WITNESS: Yeah.
 6         THE INTERPRETER: No.                          6         THE INTERPRETER: One was in the office,
 7 BY MR. RICE:                                          7    other three were in -- in the -- in the corners.
 8    Q Okay. Have there ever been any signs at 8 BY MR. RICE:
 9 any time you've worked on the property that are       9    Q Okay. One was located inside the office
10 intended to inform people that there's security to covering the front desk?
11 cameras?                                             11.   A Yes.
12    A (The Witness) Yeah.                             12    Q Okay. And a second one covered the area
13         THE INTERPRETER: Yes.                        13 that's shown on the shooting?
14 BY MR. RICE:                                         14    A Yes.
15    Q Where were those signs located at the time 15         Q And then did the other two cover a similar
16 of the shooting?                                     16 view from different locations including the parking
17    A (The Witness) In the main door.                 17 lot?
18         THE INTERPRETER: At the main door. 18              A Parking lot.
19 BY MR. RICE:                                         19    Q Is -- are those cameras, can you control
20    Q Inside or outside?                              20 them, what people call pan those cameras, focus in,
21    A Outside.                                        21 focus out?
22    Q Okay. Anywhere else?                            22    A No.
23    A No.                                             23    Q Do the new ones?
24    Q If I go out there now is it the same sign 24          A No.
25 now that was back there at the time of the shooting? 25    Q Do you -- is the -- is the photograph

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                                             (470) 545-8233
             Case 1:22-cv-03419-JPB
Eric Felder vs.                              Document 115-2           Filed 12/08/23       Page 2 UMESH
                                                                                                  of 11 PATEL
Tucker Inn Incorporated, et al.                                                                     October 25, 2018
                                                 Page 61                                                     Page 63

 1 better on the new ones?                                  1     Q And buying or selling drugs can attract
 2     A Yeah.                                              2 crimes of violence that involve weapons like guns and
 3         THE INTERPRETER: Yes.                            3 knives, correct?
 4 BY MR. RICE:                                             4           MR. LUDWIG: Object to form.
 5     Q Okay. Can you move the new one?                    5 BY THE WITNESS: (Through the Interpreter)
 6     A (The Witness) Yeah.                                6     A Yes.
 7         THE INTERPRETER: Are you asking --               7     Q And prostitution can also attract violent
 8         THE WITNESS: Zoom --                             8 crime, too, correct?
 9         THE INTERPRETER: -- about the --                 9           MR. LUDWIG: Object to form.
10         THE WITNESS: Zoom in, zoom out.                 10 BY THE WITNESS: (Through the Interpreter)
11 BY MR. RICE:                                            11     A Yes.
12     Q Yeah, zoom in.                                    12     Q Okay. And that can involve things like
13     A (The Witness) Zoom in, zoom out.                  13 guns, knives, things of that nature?
14     Q Okay. Do the old ones, can you zoom in,           14     A Yes.
15 zoom out?                                               15     Q And is that one of the reasons it's
16     A (The Witness) Yeah.                               16 critically important to know what's going on at night
17     Q Okay. How do you zoom in? Can you zoom            17 in the parking lot before the shooting?
18 in and zoom out on the old ones from the front desk?    18           MR. LUDWIG: Object to form.
19     A (The Witness) Old one, no.                        19 BY THE WITNESS: (Through the Interpreter)
20     Q Just the new ones?                                20     A We had never -- we had never told them to
21     A (The Witness) On new.                             21 watch the monitors, but if they wanted to they can
22     Q Okay. The -- before you got the new               22 see it.
23 cameras, so when -- when you had four cameras, if the   23     Q Sure. And -- and I appreciate that. My
24 person at the front desk wanted to, could they          24 question is, because you've -- my recollection is you
25 observe what was going on in the parking lot by         25 just testified that drug dealing and prostitution can


                                                 Page 62                                                     Page 64

 1 viewing those three cameras?                             1 attract violent crime. Is that a reason why it's
 2    A Yeah.                                               2 very important to monitor those cameras to know if
 3          THE INTERPRETER: Yes.                           3 that may be going on in the parking lot before the
 4 BY MR. RICE:                                             4 shooting?
 5    Q Okay. If there was something -- some type           5         MR. LUDWIG: Object to form.
 6 of crime, whether it's drug deals or prostitutions or    6 BY THE WITNESS: (Through the Interpreter)
 7 any type of crime at all, if it was occurring in the     7    A Yes, they should.
 8 parking lot, it would be visible on that camera?         8    Q Okay. Why didn't anyone ever -- when you
 9    A Yes.                                                9 were the desk clerk when you would fill in for
10    Q Okay. Did you want the desk clerk to be            10 Mr. Gandhi, would you monitor the cameras at night?
11 aware if anything like that was going on or suspected   11    A (The Witness) Sometime.
12 of being going on?                                      12    Q Okay. And would you do that because you
13    A Yes.                                               13 were bored or would you do that because you wanted to
14    Q Okay. And if they suspected, even if they          14 know what was going on in the parking lot?
15 didn't know for sure but they suspected something       15    A Nothing like that.
16 like that was going on, they should immediately call    16    Q Why would you monitor them?
17 9-1-1?                                                  17    A (The Witness) Everything is okay.
18    A H..                                                18 Sometimes I watch that everything is working fine.
19          MR. LUDWIG: Object to form.                    19         THE INTERPRETER: I just watch it to make
20 BY MR. RICE:                                            20     sure everything is working fine.
21    Q Okay. Is that because buying and selling           21 BY MR. RICE:
22 drugs can attract additional crime to the property.     22    Q Okay. Other than checking people in and
23          MR. LUDWIG: Object to form.                    23 out, did the desk clerk have anything to do during
24 BY THE WITNESS: (Through the Interpreter)               24 the -- after 5:00 o'clock?
25    A Yes.                                               25    A (The Witness) No.

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                                                                                                    Plaintiff D.H. 01113
     Case 1:22-cv-03419-JPB           Document 115-2         Filed 12/08/23      Page 3 of 11
Eric Felder vs.                                                                                  UMESH PATEL
Tucker Inn Incorporated, et al.                                                                  October 25, 2018
                                                Page 73                                                  Page 75

 1    Q Okay. Do you agree that security guards 1 BY MR. RICE:
 2 can deter crime at a property?                        2    Q Did you know that there were --
 3         MR. LUDWIG: Object to form.                   3 prostitution going on at this Tucker Inn before
 4 BY THE WITNESS:                                       4 Mr. Felder was shot?
 5    A (The Witness) I'm not sure.                      5          MR. LUDWIG: Object to form.
 6         THE INTERPRETER: I'm not sure.                6 BY THE WITNESS: (Through the Interpreter)
 7 BY MR. RICE:                                          7    A I can't tell you.
 8    Q Okay. Why did you think -- earlier you 8              Q Okay. Well, and I'm not trying to be
 9 testified that you thought having security at the     9 difficult, Umesh, but I'm trying to ask you either --
10 Motel 6 was a -- a good idea, correct?               10 either you did or you -- you didn't know.
11    A It is correct for that type of location. 11           A I -- I -- I don't know.
12    Q And when you -- what is -- when you say 12            Q Okay. Did anyone ever tell you before the
13 that type of location, what do you mean?             13 shooting that there was prostitution or suspected
14    A Tucker Inn is just one building. The 14 that there was prostitution at the Tucker Inn?
15 other place was multiple buildings and it was spread 15    A (The Witness) No.
16 out.                                                 16          THE INTERPRETER: No.
17    Q Okay. How many buildings was the Motel 6? 17 BY MR. RICE:
18    A (The Witness) Six.                              18    Q Did you know that according to the police
19         THE INTERPRETER: Six.                        19 reports there was -- multiple people had been
20 BY MR. RICE:                                         20 arrested for buying or selling drugs before the
21    Q How many rooms total?                           21 shooting at the Tucker Inn?
22    A (The Witness) Hundred and five.                 22          MR. LUDWIG: Object to form.
23         THE INTERPRETER: Hundred and five? 23 BY THE WITNESS: (Through the Interpreter)
24         THE WITNESS: Yeah.                           24    A I did not know.
25 BY MR. RICE:                                         25    Q Okay. If you did know, if you assume this

                                                Page 74                                                  Page 76

 1    Q Okay. And how many are at the Tucker Inn, 1 is true, that before Mr. Felder was shot in October
 2 like --                                              2 of 2016 that the hotel was being used for
 3    A Fifty.                                          3 prostitution, which you said earlier attracted
 4    Q Okay. So it was twice as big?                   4 violent crime, and it was used to be -- buy and sell
 5    A (The Witness) Yeah.                             5 illegal drugs, which you testified earlier could
 6    Q And how many security guards were               6 attract violent crime, wouldn't you want security
 7 typically at the Motel 6?                            7 there?
 8    A One.                                            8          MR. LUDWIG: Object to form.
 9    Q Okay. So at what point do you think the 9                  THE INTERPRETER: Repeat the last
10 number of rooms indicates a need for a hotel -- I 10       sentence. I'm sorry, I was --
11 mean, a security guard?                             11          MR. RICE: It's okay. I don't know how
12         MR. LUDWIG: Object to form.                 12     far you got, but...
13 BY THE WITNESS: (Through the Interpreter) 13 BY MR. RICE:
14    A I can't tell you.                              14    Q Assuming that your understanding is
15    Q Earlier I think you described the crime at 15 correct, can you tell me all the reasons you would
16 or around the Motel 6 as medium. How would you 16 not want security there?
17 describe, at the time of the shooting, the crime in 17    A (The Witness) No.
18 and around the Tucker Inn?                          18          THE INTERPRETER: No.
19    A I can't figure that out.                       19 BY MR. RICE:
20    Q Why not?                                       20    Q Okay. It would be a good idea to have
21    A I can't tell you.                              21 security there if there's drug dealers and
22    Q Okay. How did you figure out that it was 22 prostitutes, correct?
23 medium crime at the Motel 6?                        23          MR. LUDWIG: Object to form.
24    A (The Witness) I can't tell you that.           24 BY THE WITNESS:
25         THE INTERPRETER: I can't tell you. 25             A (The Witness) Yeah.

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                                              (470) 545-8233
             Case 1:22-cv-03419-JPB
Eric Felder vs.                               Document 115-2           Filed 12/08/23       Page 4 UMESH
                                                                                                   of 11 PATEL
Tucker Inn Incorporated, et al.                                                                      October 25, 2018
                                                  Page 77                                                     Page 79

 1          THE INTERPRETER: Yes.                            1 correct?
 2   BY MR. RICE:                                            2    A Yes.
 3     Q Did anyone ever suggest that there should           3    Q Okay.
 4   be security before Mr. Felder was shot?                 4    A (The Witness) They always checking the
 5     A (The Witness) No.                                   5 review and -- and they will still -- are booking the
 6          THE INTERPRETER: No.                             6 rooms.
 7   BY MR. RICE:                                            7          THE INTERPRETER: They always check the
 8     Q Was there ever any discussion about having          8     reviews before booking the room.
 9   security there at all before the shooting?              9 BY MR. RICE:
10     A (The Witness) No.                                  10    Q Right. And since you've worked at this
11          THE INTERPRETER: No.                            11 Tucker Inn, you understand that it's important to get
12   BY MR. RICE:                                           12 good reviews, clean, nice people, good breakfast,
13     Q Okay. As --                                        13 things like that, correct?
14          MR. LUDWIG: Jimmy -- Jimmy, I just want         14    A (The Witness) Right.
15      to clarify since we have an interpreter. I want     15    Q Okay. And because of that, is one of your
16      to make sure, when you say security you mean a      16 jobs as the owners -- as the owner since you've been
17      security guard?                                     17 working there to always check reviews on Trip Advisor
18          MR. RICE: Yes. You understand I'm               18 or Yelp, Expedia, Hotel.com?
19      talking about security --                           19    A (The Witness) Yes.
20          THE WITNESS: Yeah.                              20    Q Okay. And do you do that once a day or
21          MR. LUDWIG: I think he needs to                 21 once a week?
22      understand that, 'cause I think --                  22    A (The Witness) Every day.
23          MR. RICE: Okay.                                 23          THE INTERPRETER: Every day.
24          MR. LUDWIG: I was -- my opinion is there        24 BY MR. RICE:
25      was security, but I'm not --                        25    Q So every day you review Yelp, Travelocity,

                                                  Page 78                                                     Page 80

 1           MR. RICE: Okay.                                1 Expedia?
 2           MR. LUDWIG: I wanted to make sure that 2            A (The Witness) Yes.
 3       we're --                                           3    Q Okay. And do you ever print those off?
 4           MR. RICE: Yeah.                                4    A (The Witness) No.
 5           MR. LUDWIG: -- clear.                          5         THE INTERPRETER: No.
 6           MR. RICE: Yeah.                                6 BY MR. RICE:
 7           THE INTERPRETER: There is security 7                Q Okay. In the years since you've been
 8       (inaudible), not just security guard?              8 working there and checking the various reviews on
 9           THE WITNESS: Yeah.                             9 Travelocity, Yelp, Hotel.com, Expedia, have you ever
10   BY MR. RICE:                                          10 seen anyone complain that they were concerned about
11      Q Okay. So when I was asking you questions 11 their security or safety?
12   about security you understood security guard, okay. 12      A (The Witness) No.
13           As the -- one of the owners of the            13    Q Okay. You can -- when you read those, you
14   corporation which owns the hotel, one of the things I 14 can -- I assume just because you've been in the
15   do when I go somewhere is I look on Yelp or Trip       15 United States so long, you can read English, correct?
16   Advisor to see if I'm staying in a nice place. Do      16    A (The Witness) Yes.
17   you understand people that stay in hotels always do    17    Q Okay. And if you couldn't understand a
18   that, too?                                             18 word you would ask somebody that speaks perfect
19      A Yes.                                              19 English to interpret?
20      Q And it's important for my law firm,               20    A (The Witness) Yes, yes.
21   Elizabeth's law firm, everybody's looking at --        21    Q Okay. And during your time in all your
22      A (The Witness) Yeah, yeah.                         22 years at the Tucker Inn reading all these reviews,
23      Q -- reviews. Okay.                                 23 have you ever seen anything that referenced that
24      A (The Witness) You're right.                       24 people believe there was drug dealings or drug sales
25      Q That's a pretty big thing these days,             25 going on at the property?


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             Case 1:22-cv-03419-JPB
Eric Felder vs.                              Document 115-2           Filed 12/08/23       Page 5 UMESH
                                                                                                  of 11 PATEL
Tucker Inn Incorporated, et al.                                                                    October 25, 2018
                                                 Page 81                                                    Page 83

 1    A (The Witness) This I read.                          1 Raman, they would review them -- they would tell you
 2    Q Okay. And fair to -- I mean, I've                   2 they would review them, also, correct?
 3 reviewed these, too.                                     3    A (The Witness) No.
 4    A (The Witness) Yes, yes.                             4          THE INTERPRETER: No.
 5    Q Fair to say there's at least 20 or 30               5 BY MR. RICE:
 6 reviews where they reference that they suspected         6    Q Okay. Did you say yes or no?
 7 there was drug dealing at the property, correct?         7    A (The Witness) No.
 8    A (The Witness) Probably.                             8    Q No?
 9          THE INTERPRETER: Yeah, probably.                9          THE INTERPRETER: No.
10 BY MR. RICE:                                            10 BY MR. RICE:
11    Q All right. And when you read these                 11    Q Okay. Did you ever share any of the
12 reviews about suspected drug dealing at the property,   12 reviews that you read about concerns of safety, drug
13 a lot of these were before the shooting as well as      13 dealing, prostitution before the shooting with any of
14 after the shooting, correct?                            14 your co-owners?
15    A Yes.                                               15    A (The Witness) No.
16    Q And what, if anything, did you or to your          16          THE INTERPRETER: No.
17 knowledge anyone else do to investigate whether those   17 BY MR. RICE:
18 reviews were accurate?                                  18    Q Okay. Why not?
19    A (The Witness) No.                                  19    A (The Witness) It's not necessary to tell
20          THE INTERPRETER: No.                           20 those.
21 BY MR. RICE:                                            21          THE INTERPRETER: I -- it wasn't necessary
22    Q Why not?                                           22     to tell them.
23    A A lot of times customers lie.                      23 BY MR. RICE:
24    Q Okay. Did you believe the customers that           24    Q Why did you not think it was necessary?
25 left you good reviews were telling the truth?           25    A Because he's not involved on that things.

                                                 Page 82                                                    Page 84

 1    A (The Witness) Yeah.                                 1          THE INTERPRETER: Because they are not
 2         THE INTERPRETER: Yes.                            2     involved in those things.
 3 BY MR. RICE:                                             3 BY MR. RICE:
 4    Q Okay. What about -- you read reviews                4     Q Are you -- you're the one that makes the
 5 before the shooting; I think there were 15 or 20 that    5 decisions on whether or not to have security?
 6 said that you needed security at the hotel. That's       6     A Yes.
 7 true, correct?                                           7     Q Okay. Is it fair to say, even though
 8         MR. LUDWIG: Object to form.                      8 you're the one that makes the decisions on whether or
 9 BY THE WITNESS: (Through the Interpreter)                9 not to have security at the hotel, you have
10    A Yes.                                               10 absolutely no training regarding security?
11    Q And what, if anything, did you do or               11          MR. LUDWIG: Object to form.
12 anyone else that owned any part of the corporation      12 BY THE WITNESS: (Through the Interpreter)
13 that owned the hotel do in response to those reviews?   13     A No, I've never received the training.
14         MR. LUDWIG: Object to form.                     14     Q And is it fair to say you as someone with
15 BY THE WITNESS: (Through the Interpreter)               15 no training at all in security before the shooting of
16    A No.                                                16 Mr. Felder read dozens of reviews with customers who
17    Q Why not?                                           17 complained of prostitution, drug dealing, and
18    A (The Witness) This I cannot tell him.              18 concerns for their personal safety?
19         THE INTERPRETER: That I cannot tell.            19     A Yes, I -- I read them.
20 BY MR. RICE:                                            20     Q And understanding the last question, why
21    Q When you would -- in addition to you               21 did you think security -- or -- or based on those
22 reviewing the reviews on Yelp and Hotel and             22 reviews, tell me why -- all the different reasons you
23 Travelocity and Expedia, the other people that owned    23 think having security would not be a good idea before
24 part of the hotel, Vinay, Ober (phonetic) -- I'm        24 the shooting?
25 probably mispronouncing some of these -- Ramesh and     25          MR. LUDWIG: And I just want to -- you

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                                              (470) 545-8233
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      Case 1:22-cv-03419-JPB            Document 115-2           Filed 12/08/23   Page 6 of 11
Eric Felder vs.                                                                                  UMESH PATEL
Tucker Inn Incorporated, et al.                                                                  October 25, 2018
                                                   Page 93                                               Page 95

 1 shooting in 2015 before the shooting, would they earn
                                                   1     Q Okay. And from the documents I received,
 2 a salary?                                       2 in that same time frame the hotel was grossing about
 3    A (The Witness) No.                          3 five or 600,000 dollars a year, true?
 4        THE INTERPRETER: No.                     4          MR. LUDWIG: Object to form.
 5 BY MR. RICE:                                    5 BY THE WITNESS: (Through the Interpreter)
 6    Q Okay. How much did it cost to run the 6          A Yes.
 7 hotel in 2015 and 2016 on an annual basis?      7     Q So wouldn't that leave a -- a profit of
 8    A I don't know exactly how much yearly, 8 about 100 or 200,000 dollars a year?
 9 but --                                          9     A (The Witness) Yeah.
10        THE INTERPRETER: You said you can tell 10           MR. LUDWIG: Object to form.
11    me, --                                      11 BY THE WITNESS: (Through the Interpreter)
12        THE WITNESS: Right.                     12     A Yes.
13        THE INTERPRETER: -- what, monthly? 13          Q So if the hotel was netting or earning
14        THE WITNESS: Monthly.                   14 above what it cost to run it of at least a hundred
15        THE INTERPRETER: He can tell you on 15 thousand dollars a year, wouldn't that be enough to
16    monthly.                                    16 pay for a 20-dollar-an-hour security guard for eight
17 BY MR. RICE:                                   17 hours a day for a year?
18    Q Okay. On average, what did it cost to run 18     A (The Witness) That's a owner decision,
19 monthly?                                       19 right?
20    A (The Witness) Thirty-two thousand. 20                 THE INTERPRETER: That's a decision for --
21        THE INTERPRETER: Thirty-two thousand. 21        for the owner.
22 BY MR. RICE:                                   22 BY MR. RICE:
23    Q Okay. So my quick math, is that -- that's 23     Q All right. And who do you -- I thought
24 about 400,000 dollars a year?                  24 you -- you were one of the owners?
25    A (The Witness) Yeah.                       25     A (The Witness) Yeah.

                                                   Page 94                                               Page 96

 1      Q Okay. So if it cost -- it cost -- is it            1       THE INTERPRETER: Yes.
 2   fair to say in 2015 and 2016, on a yearly basis it      2   BY MR. RICE:
 3   would cost about 400,000 dollars a year, give or take   3    Q Okay. Who are the -- when you say owner
 4   25,000; is that fair?                           4 decision, you're talking about in 2015 you were not
 5         THE INTERPRETER: Repeat that question. 5 one of the owners, correct?
 6         MR. RICE: Sure.                           6    A (The Witness) Yeah.
 7         THE INTERPRETER: What about 25,000? 7          Q But you were the general manager?
 8   BY MR. RICE:                                    8    A       (The Witness) No.
 9     Q If it costs 33,000 dollars a month --       9    Q You were the manager?
10         THE INTERPRETER: Uh-huh.                 10    A (The Witness) Right.
11   BY MR. RICE:                                   11    Q Okay. In 2015 and 2016 even when you
12     Q -- to run the company, --                  12 didn't have this, I think it's 15 percent ownership,
13         THE INTERPRETER: Uh-huh.                 13 you still knew how much the hotel was making and how
14   BY MR. RICE:                                   14 much it cost to run the hotel?
15     Q -- and 12 times 33 is about 400,000 -- 15        A (The Witness) Yes.
16         THE INTERPRETER: Thousand.               16    Q Okay. And so you -- you knew back then
17   BY MR. RICE:                                   17 when you made the decisions about security in 2015
18     Q -- dollars, is it fair to say that in 2015 18 and 2016, you knew there was enough money to hire
19   and 2016 it cost about 400,000 dollars --      19 security if you wanted to, --
20     A (The Witness) Yeah.                        20           MR. LUDWIG: Object to form.
21     Q -- to run the hotel?                       21 BY MR. RICE:
22     A (The Witness) Yeah, uh-huh.                22    Q -- correct?
23     Q Okay.                                      23    A (The Witness) Yeah.
24         THE INTERPRETER: Yes.                    24    Q Okay. But you never -- did you ever make
25   BY MR. RICE:                                   25 that recommendation to the others in 2015 or 2016?


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       Case 1:22-cv-03419-JPB           Document 115-2           Filed 12/08/23      Page 7 of 11
Eric Felder vs.                                                                                     UMESH PATEL
Tucker Inn Incorporated, et al.                                                                     October 25, 2018
                                                  Page 97                                                    Page 99

 1   A (The Witness) No.                               1 BY MR. RICE:
  2   Q Okay. Even though you knew in your mind 2           Q Okay. So did it cause you any concern
 3 there should be security there, you still never     3 that there was prostitution and drug sales at your
 4 recommended it, true?                               4 hotel when the DeKalb County Police Department was
 5         MR. LUDWIG: Object to form.                 5 running drug stings and prostitution stings before
 6 BY THE WITNESS:                                     6 Mr. Felder was shot?
 7   A (The Witness) Yeah.                             7    A I knew about it.
 8    Q Okay. Did you know that there were -- 8             Q Okay. Did you -- is it reasonable to
 9         MR. RICE: And if he doesn't understand 9 assume that if the police department is doing drug
to    this word, please let me know.                  10 stings and prostitution stings at your hotel, then
11 BY MR. RICE:                                       11 those types of actions are more than likely going on
12    Q -- vice stings conducted by the DeKalb 12 at your hotel prior to the shooting?
13 County Police Department at the hotel prior to the 13          MR. LUDWIG: Object to form.
14 shooting?                                          14 BY THE WITNESS:
15         MR. LUDWIG: Let's -- let's have it         15    A (The Witness) Yeah.
16    translated.                                     16          THE INTERPRETER: Yes.
17         MR. RICE: Yeah.                            17 BY MR. RICE:
18         THE INTERPRETER: Yeah. I'm going to -- 18        Q Okay. And knowing and -- or believing
19    I'll have to explain to him what --             19 that they were doing it because of that, why did you
20         MR. RICE: Yeah.                            20 -- did you ever talk to the police about it or -- or
21         THE INTERPRETER: -- vice --                21 anything?
22         MR. LUDWIG: Repeat your question. I 22           A (The Witness) Yes. We attend two
23    just --                                         23 meetings.
24         MR. RICE: Yeah, that's fine. Go ahead. 24        Q Okay.
25 BY THE WITNESS:                                    25          MR. RICE: Let me just get to the two

                                                  Page 98                                                   Page 100

  1      A       (The Witness) They will do it my hotel,    1
                                                            meetings, if that's okay.
 2    also.                                            2 BY MR. RICE:
 3        THE INTERPRETER: They will do it? 3              Q Before -- both of those meetings were
 4        THE WITNESS: Yeah.                           4 before the shooting with Mr. Felder, correct?
 5        THE INTERPRETER: They were doing it in 5         A (The Witness) Yeah, before.
 6    his motel, also.                                 6   Q Okay. When was the first one? What year?
 7 BY MR. RICE:                                        7   A (The Witness) I do not remember the year,
 8    Q When you say his hotel, you're talking 8 what years.
 9 about the Tucker Inn, correct?                      9   Q Okay. But was the meeting about the --
10    A (The Witness) Yeah.                           10 the -- one of the stings?
11     THE INTERPRETER: Yes.                          u.   A (The Witness) Yeah.
12 BY MR. RICE:                                       12   Q Okay. Was it to get your permission to do
13    Q Okay. And according to what I've seen 13 the sting?
14 they were doing these prostitution stings multiple 14   A (The Witness) No.
15 times before the shooting, correct?                15         THE INTERPRETER: No.
16    A (The Witness) Yeah.                           16 BY MR. RICE:
17        THE INTERPRETER: Yes.                       17   Q Okay. What was -- better for you to tell
18 BY MR. RICE:                                       18 me. What was the meeting about with the police?
19    Q Okay. And you knew they were doing drug 19         A It was -- it was -- the reason for the
20    stings multiple times before the shooting, correct?   20   meeting is so these type of people do not come and
21      A Yes.                                              21   stay at the hotel.
22      Q Okay. And did you believe they were doing         22      Q And did you -- who initiated the --
23    them in the surrounding area, as well?                23   meeting number one? Was it you or someone else at
24      A (The Witness) Yes.                                24   the hotel?
25          THE INTERPRETER: Yes.                           25     A Me and Raman Patel.

i,_../-U-Script II)                        MUELLER REPORTING, LLC                                  (25) Pages 97 - 100
                                                (470) 545-8233
     Case 1:22-cv-03419-JPB           Document 115-2         Filed 12/08/23      Page 8 of 11
Eric Felder vs.                                                                                 UMESH PATEL
Tucker Inn Incorporated, et al.                                                                 October 25, 2018
                                               Page 101                                                Page 103

 1      Q     Who -- did the Patel -- sorry.            1     A (The Witness) Yes.
 2           Did the police reach out to you, or did 2        Q Okay. And was one of the suggestions to
 3   one of you reach out to the police?                3 -- by the police was for the hotels, including yours,
 4      A (The Witness) They will give the              4 the Masters Inn and the Knights Inn, to put up some
 5   invitation to come and join it's -- the meeting. 5 form of security guard?
 6           THE INTERPRETER: They have given us the 6        A (The Witness) No.
 7      invitation to come and join the meeting.        7          THE INTERPRETER: No.
 8   BY MR. RICE:                                         BY MR. RICE:
 9      Q Okay. Other than -- was it you and            9     Q Okay. What, if anything, did they
io   Mr. Patel went to the meeting?                    10 recommend or suggest at that meeting?
11      A (The Witness) Yeah.                          11     A Make sure you take all the customers' ID
12      Q Okay. Did you take notes or keep any 12 and when the police are at your property helping out.
13   notes about the meeting?                          13          THE INTERPRETER: Make sure that you have
14      A (The Witness) No.                            14     the IDs for all the customers that are staying
15           THE INTERPRETER: No.                      15     and if --whenever police shows up help the
16   BY MR. RICE:                                      16     police.
17      Q Okay. What -- did you recognize anyone 17 BY MR. RICE:
18   else at the meeting?                              18     Q Okay. And did you start doing that?
19      A (The Witness) Master Inn owner.              19     A (The Witness) Yes.
20           THE INTERPRETER: The owner of Master Inn. 20     Q Okay. Did you ever -- when the police
21           THE WITNESS: Knights Inn owner. 21 were around, I assume that one of the things that you
22           THE INTERPRETER: So --                    22 would want to know is, since that meeting, is -- is
23           THE WITNESS: Knights Inn.                 23 there more crime, less crime or staying the same or
24           MR. RICE: Knights Inn.                    24 did you want to know that?
25           THE INTERPRETER: Okay.                    25     A Yes.

                                               Page 102                                                Page 104

 1 BY MR. RICE:                                         1    Q Okay. And when you would ask the police
 2     Q Do you know those people?                      2 that before Mr. Felder was shot, did they tell you
 3     A (The Witness) Yeah.                            3 that there was still ongoing crime in the area?
 4     Q Okay. Do any of them now or ever in the 4           A Yes.
 5 past have any type of security guard?                5    Q Okay. They told you to be careful walking
 6     A (The Witness) No.                              6 to and from your car?
 7     Q Okay. Have they ever talked to you about 7          A (The Witness) Yes.
 8 -- sometimes apartments will share security guards.  8    Q Okay. They told you there was shootings
 9 Have you ever talked to them about that?             9 in the area?
10     A (The Witness) No.                             10    A Yes.
11     Q Okay. Or an off-duty police officer? 11.            Q They told you there were armed robberies
12     A (The Witness) No.                             12 in the area near your hotel, also?
13     Q Okay. When you went to this first meeting 13        A Yes.
14 before Mr. Felder was shot, what did you understand 14    Q Okay. And did they tell you there was
15 the purpose of the meeting was?                     15 also carjackings near the hotel?
16     A To inform us about all -- all these things 16       A That I don't remember.
17 that were going on on the property and what actions 17    Q Okay. Tell me about the second meeting.
18 could be taken.                                     is How long after the first meeting did the second
19     Q Okay. And when you say the property, 19 meeting before Mr. Felder was shot take place?
20 you're talking about Masters Inn, Knights Inn, your 20    A The -- the second meeting was after the
21 property?                                           21 shooting.
22     A (The Witness) Yeah.                           22         THE WITNESS: Yeah.
23     Q Okay. And when you say these things, are 23 BY MR. RICE:
24 you talking about prostitution, drug sales, other 24      Q Okay. The second meeting -- how soon
25 crimes?                                             25 before Mr. Felder was shot, and again, that was


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      Case 1:22-cv-03419-JPB            Document 115-2            Filed 12/08/23      Page 9 of 11
Eric Felder vs.                                                                                       UMESH PATEL
Tucker Inn Incorporated, et al.                                                                       October 25, 2018
                                                  Page 177                                                   Page 179

 1     THE INTERPRETER: No.                                   1          MR. RICE: Okay.
 2 BY MR. RICE:                                               2    (Plaintiffs Exhibit Number 11 was marked.)
 3  Q Okay. When people check-in, do they have                3 BY MR. RICE:
 4   to give you the make and model or license plate of       4    Q Would -- I'm going to hand you Exhibit 11
 5 their vehicle?                                             5 and I'm going to turn to the second page and just
 6    A Yes.                                                  6 read it to you. It's about the criminal defendant
 7    Q And did they do that in this case?                7 named Hall. It says Hall -- it's this one I'm about
 8    A (The Witness) No.                                 8 to hand you. It says, Hall attempted to attack
 9         THE INTERPRETER: No.                           9 another woman at the Americas Best Value Inn on
10 BY MR. RICE:                                          10 Crescent Center Boulevard in Tucker three days later.
11    Q Who is -- is it the desk person, the desk 11 That attack was thwarted by another man who was at
12 worker that's supposed to get that -- part of their 12 the location and pulled a gun on Hall. Did you --
13 job to get that information?                          13         MR. LUDWIG: I'll just make an objection
14    A Yes.                                             14     to that exhibit.
15    Q Okay. Did anyone ever go into the room 15                   MR. RICE: Sure, that's fine.
16 that -- either 215 or 217, other than the police 16 BY MR. RICE:
17 after this happened?                                  17    Q Did you ever hear about that?
18    A No.                                              18    A (The Witness) No.
19    Q Okay. Since this happened there's a -- do 19                THE INTERPRETER: No.
20 you know of any -- anybody that's been accused of sex 20 BY MR. RICE:
21 trafficking at the hotel?                             21    Q Okay. If a woman, a female is -- is
22         MR. LUDWIG: Object to form.                   22 attacked at the hotel, is that definitely enough that
23 BY THE WITNESS:                                       23 you should put security there?
24    A (The Witness) No.                                24         MR. LUDWIG: Object to form.
25         THE INTERPRETER: No.                          25 BY THE WITNESS:


                                                  Page 178                                                   Page 180

 1 BY MR. RICE:                                               1     A  (The Witness) I can't answer this.
 2  Q Okay. Do you -- as either a service or                  2       THE INTERPRETER: I can't answer that.
 3   otherwise, do you get the paper, the Atlanta Journal     3   BY MR. RICE:
 4   Constitution?                                            4    Q Okay. Well, I think earlier you said
 5     A (The Witness) No.                                    s you're in charge of making decisions on whether or
 6         THE INTERPRETER: No.                               6   not the hotel has security so that's why I'm asking
 7   BY MR. RICE:                                             7   you.
 8     Q Okay. Do you look at it on your phone or             8       Why would a woman being attacked not be
 9   on a computer to keep up with the news in and around     9 enough to initiate security guards at the premises?
io the -- the area?                                          10        MR. LUDWIG: I'm going to object to the
11    A Yes.                                           11           form of the question. This is -- involved
12    Q Okay.                                          12           attacks at several different locations.
13    (Plaintiffs Exhibit Number 10 was marked.) 13                     Are you -- are you referring --
14 BY MR. RICE:                                        14               MR. RICE: Oh, I'm just asking --
15    Q I'm going to show you what I've marked as 15                    MR. LUDWIG: -- to the one at --
16 Plaintiffs Exhibit 10 and -- it's an incident which 16               MR. RICE: -- the one at -- at the hotel.
17 appears to have occurred after this shooting where        17         MR. LUDWIG: Well, --
18 someone was accused of sex trafficking. Did you ever      18         MR. RICE: Yeah.
19   hear about that?                                        19         MR. LUDWIG: But it seems to be stemming
20          MR. LUDWIG: I'm just going to put an             20     from that, so let me object to the form.
21      objection to Exhibit 10 on the record.               21         MR. RICE: Okay.
22          MR. RICE: Sure.                                  22   BY THE WITNESS:
23   BY THE WITNESS:                                         23    A (The Witness) I cannot answer this.
24     A (The Witness) No.                                   24         THE INTERPRETER: I cannot answer that.
25          THE INTERPRETER: No.                             25   BY MR. RICE:

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                                                (470) 545-8233
            Case 1:22-cv-03419-JPB
Eric Felder vs.                              Document 115-2            Filed 12/08/23      Page 10UMESH
                                                                                                   of 11 PATEL
Tucker Inn Incorporated, et al.                                                                     October 25, 2018
                                                Page 177                                                    Page 179

 1         THE INTERPRETER: No.                             1          MR. RICE: Okay.
 2 BY MR. RICE:                                             2     (Plaintiff's Exhibit Number 11 was marked.)
 3    Q Okay. When people check-in, do they have            3 BY MR. RICE:
 4 to give you the make and model or license plate of       4    Q Would -- I'm going to hand you Exhibit 11
 5 their vehicle?                                           5 and I'm going to turn to the second page and just
 6    A Yes.                                                6 read it to you. It's about the criminal defendant
 7    Q And did they do that in this case?                  7 named Hall. It says Hall -- it's this one I'm about
 8    A (The Witness) No.                                   8 to hand you. It says, Hall attempted to attack
 9         THE INTERPRETER: No.                             9 another woman at the Americas Best Value Inn on
10 BY MR. RICE:                                            10 Crescent Center Boulevard in Tucker three days later.
11    Q Who is -- is it the desk person, the desk          11 That attack was thwarted by another man who was at
12 worker that's supposed to get that -- part of their     12 the location and pulled a gun on Hall. Did you --
13 job to get that information?                            13          MR. LUDWIG: I'll just make an objection
14    A Yes.                                               14     to that exhibit.
15    Q Okay. Did anyone ever go into the room             15          MR. RICE: Sure, that's fine.
16 that -- either 215 or 217, other than the police        16 BY MR. RICE:
17 after this happened?                                    17    Q Did you ever hear about that?
18    A No.                                                18    A (The Witness) No.
19    Q Okay. Since this happened there's a -- do          19          THE INTERPRETER: No.
20 you know of any -- anybody that's been accused of sex   20 BY MR. RICE:
21 trafficking at the hotel?                               21    Q Okay. If a woman, a female is -- is
22         MR. LUDWIG: Object to form.                     22 attacked at the hotel, is that definitely enough that
23 BY THE WITNESS:                                         23 you should put security there?
24    A (The Witness) No.                                  24          MR. LUDWIG: Object to form.
25         THE INTERPRETER: No.                            25 BY THE WITNESS:


                                                Page 178                                                    Page 180

 1 BY MR. RICE:                                             1      A (The Witness) I can't answer this.
 2    Q Okay. Do you -- as either a service or              2       THE INTERPRETER: I can't answer that.
 3 otherwise, do you get the paper, the Atlanta Journal     3   BY MR. RICE:
 4 Constitution?                                            4    Q Okay. Well, I think earlier you said
 5    A (The Witness) No.                                   5   you're in charge of making decisions on whether or
 6         THE INTERPRETER: No.                             6   not the hotel has security so that's why I'm asking
 7 BY MR. RICE:                                             7   you.
 8    Q Okay. Do you look at it on your phone or            8         Why would a woman being attacked not be
 9 on a computer to keep up with the news in and around     9   enough to initiate security guards at the premises?
10 the -- the area?                                        10         MR. LUDWIG: I'm going to object to the
11    A Yes.                                               11     form of the question. This is -- involved
12    Q Okay.                                              12     attacks at several different locations.
13     (Plaintiff's Exhibit Number 10 was marked.)         13         Are you -- are you referring --
14 BY MR. RICE:                                            14         MR. RICE: Oh, I'm just asking --
15    Q I'm going to show you what I've marked as          15         MR. LUDWIG: -- to the one at --
16 Plaintiff's Exhibit 10 and -- it's an incident which    16         MR. RICE: -- the one at -- at the hotel.
17 appears to have occurred after this shooting where      17         MR. LUDWIG: Well, --
18 someone was accused of sex trafficking. Did you ever    18         MR. RICE: Yeah.
19 hear about that?                                        19         MR. LUDWIG: But it seems to be stemming
20         MR. LUDWIG: I'm just going to put an            20     from that, so let me object to the form.
21     objection to Exhibit 10 on the record.              21         MR. RICE: Okay.
22         MR. RICE: Sure.                                 22   BY THE WITNESS:
23 BY THE WITNESS:                                         23    A (The Witness) I cannot answer this.
24    A (The Witness) No.                                  24         THE INTERPRETER: I cannot answer that.
25         THE INTERPRETER: No.                            25   BY MR. RICE:

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            Case 1:22-cv-03419-JPB
Eric Felder vs.                              Document 115-2           Filed 12/08/23    Page 11UMESH
                                                                                                of 11 PATEL
Tucker Inn Incorporated, et al.                                                                  October 25, 2018
                                                 Page 181                                                Page 183

 1       Q And why is it you don't believe you can 1             MR. RICE: No, I just wanted him --
 2   answer that?                                      2         THE INTERPRETER: Okay.
 3       A Incidents like this happens all the time. 3           MR. RICE: -- to have an opportunity to --
 4   It's a motel and this is part of the routine.     4         THE INTERPRETER: Yes.
 5       (Plaintiff's Exhibit Number 12 was marked.) 5           MR. RICE: -- look at it.
 6   BY MR. RICE:                                      6         THE INTERPRETER: Okay.
 7       Q I'm going to hand you --                    7         MR. RICE: Okay.
 8           MR. LUDWIG: Object to --                  8 BY MR. RICE:
 9   BY MR. RICE:                                      9    Q Did -- you knew about this?
10       Q -- what I've --                            10    A (The Witness) No.
11           MR. LUDWIG: -- form.                     11    Q You never --
12           THE REPORTER: I didn't -- I'm sorry, I 12           THE INTERPRETER: No.
13       didn't get --                                13 BY MR. RICE:
14           MR. LUDWIG: Object to form.              14    Q -- knew about this?
15   BY MR. RICE:                                     15    A (Shakes head.)
16       Q I'm going to hand you what I've marked as 16     Q No?
17   Exhibit 12.                                      17    A (The Witness) No.
18           MR. RICE: And, Eric, it's a July 3, 2016 18    Q Okay. If you had known about this person
19       report.                                      19 being stabbed at the hotel three or four months
20           MR. LUDWIG: Is that the report in this 20 before the shooting, would that be enough for you as
21       case?                                        21 the person in charge of making decisions on whether
22           MR. RICE: No. Let me see if I --         22 or not to place security guards -- to place security
23           MR. LUDWIG: I don't have that one. 23 guards at the hotel?
24           MR. RICE: Okay. Let me get it for you. 24           MR. LUDWIG: Object to form.
25           MS. ROSE: It's in this stack.            25 BY THE WITNESS:


                                                 Page 182                                                Page 184

 1         MR. RICE: Is it?                          1            A    (The Witness) No.
 2         MS. ROSE: Yeah, there's a bunch --        2                 THE INTERPRETER: No.
 3     there's a --                                  3          BY MR. RICE:
 4         MR. RICE: Oh, let me see if I got...      4              Q Okay. Why not?
 5         MS. ROSE: Eric doesn't have the police 5                 A (The Witness) We cannot afford those.
 6     report?                                       6                 THE INTERPRETER: We cannot afford it.
 7         MR. RICE: Mine only has one. I'm looking 7           BY MR. RICE:
 8     at another one --                             8              Q Okay. Other than you couldn't afford it,
 9         MS. ROSE: Here you go. I just gave it to 9           any other reason?
10     him.                                         10                 MR. LUDWIG: Object to form.
11         MR. RICE: Okay. Sorry.                   11          BY THE WITNESS:
12   BY MR. RICE:                                   12              A (The Witness) No.
13    Q I'm going to -- I'm not trying to keep 13                      THE INTERPRETER: No.
14   this from you, but I only have my one copy, then I'll 14   BY MR. RICE:
15   give it to you and you can ask for translation. But 15         Q And did anyone ever tell you about this
16   this report references an incident, it's the DeKalb   16   stabbing?
17   County Police Department on July 3, 2016, and it      17       A (The Witness) No.
18   references a stabbing involving a black male, a black 18          THE INTERPRETER: No.
19   female -- it doesn't say the other person -- that 19       BY MR. RICE:
20   happened in and around Room 113 at the hotel. 20               Q Would you have wanted to know about it?
21            MR. LUDWIG: I'm just going to make an 21              A Yes.
22       objection to Exhibit 13 [sic].                    22       Q Okay. Why would you want to know about
23            MR. RICE: Sure.                              23   it?
24            THE INTERPRETER: Did you ask a question, 24           A Because it's in the motel.
25       or it was just a statement?                       25       Q But nothing would have changed on how you

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